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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


UNITED STATES OF AMERICA

VS.                                           CASE NO: 6:20-cr-97-GAP-LRH

JOEL MICAH GREENBERG

 JUDGE:        Gregory A. Presnell           COUNSEL FOR Roger
                                             GOVERNMENT: Bernard
 DEPUTY        Lisa Milliron
                                                         Handberg, III;
 CLERK:
                                                         Jennifer
                                                         Harrington
 COURT         Heather Suarez                COUNSEL FOR Fritz J.
 REPORTER:     heathersuarez.usocr@gmail.com DEFENDANT:  Scheller

 SCHEDULED     April 8, 2021                       INTERPRETER:    N/A
 DATE/TIME:    1:00 PM

                                  MINUTES
                               Status Conference

1:01 p.m.       Court in session. Appearances. Procedural setting by the
                Court.
                Counsel provide the Court with a status of the case.
                The parties agree this case should resolve by guilty plea, and
                counsel for Defendant requests a plea date by May 15, 2021.
                Should a change of plea not occur, the parties agree to a July
                2021 trial.
1:07 p.m.       Court adjourned.




                Total time in court: six minutes
